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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

 WILLIAM ZAJAC,

    Plaintiff,                                    CASE NO.:

 -VS-

 DFS SERVICES, LLC A/K/A DISCOVER
 FINANCIAL SERVICES, LLC,

     Defendant.
                                      /

                  COMPLAINT AND DEMAND FOR JURY TRIAL

        COMES NOW Plaintiff, William Zajac, by and through the undersigned counsel,

 and sues Defendant, DFS SERVICES, LLC A/K/A DISCOVER FINANCIAL

 SERVICES, LLC and in support thereof respectfully alleges violations of the Telephone

 Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”) and the Florida Consumer

 Collection Practices Act, Fla. Stat. § 559.55 et seq. (“FCCPA”).

                                    INTRODUCTION

        1.       The TCPA was enacted to prevent companies like Defendant from

 invading American citizen’s privacy and prevent abusive “robo-calls.”

        2.       “The TCPA is designed to protect individual consumers from receiving

 intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132

 S.Ct., 740, 745, 181, L.Ed. 2d 881 (2012).

        3.       “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

 scourge of modern civilization, they wake us up in the morning; they interrupt our dinner



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 at night; they force the sick and elderly out of bed; they hound us until we want to rip the

 telephone out of the wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably

 intended to give telephone subscribers another option: telling the autodialers to simply

 stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014).

         4.        According     to   the   Federal   Communications    Commission     (FCC),

 “Unwanted calls are far and away the biggest consumer complaint to the FCC with over

 200,000 complaints each year – around 60 percent of all the complaints…Some private

 analyses estimate that U.S. consumers received approximately 2.4 billion robocalls per

 month        in   2016.”      https://www.fcc.gov/about-fcc/fcc-initiatives/fccs-push-combat-

 robocalls-spoofing.

                                 JURISDICTION AND VENUE

         5.        This is an action for damages exceeding Seventy-Five Thousand Dollars

 ($75,000.00) exclusive of attorney fees and costs.

         6.        Jurisdiction and venue for purposes of this action are appropriate and

 conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

 violations of the TCPA.

         7.        Subject matter jurisdiction, federal question jurisdiction, for purposes of

 this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

 district courts shall have original jurisdiction of all civil actions arising under the

 Constitution, laws, or treaties of the United States; and this action involves violations of

 47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

 and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014)


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         8.      The alleged violations described herein occurred in Pinellas County,

 Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2)

 as it is the judicial district in which a substantial part of the events or omissions giving

 rise to this action occurred.

                                    FACTUAL ALLEGATIONS

         9.      Plaintiff is a natural person, and citizen of the State of Florida, residing in

 the city of Clearwater, Pinellas County.

         10.     Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

         11.     Plaintiff is an “alleged debtor.”

         12.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

 F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

 Cir. 2014).

         13.     Defendant is a corporation with its principal place of business located at

 2500 Lake Park Boulevard, Lake Park, Utah 84120 and which conducts business in the

 State of Florida through its registered agen CT Corporation System, 1200 South Pine

 Island Road, Planation, Florida 33324.

         14.     The debt that is the subject matter of this Complaint is a “consumer debt”

 as defined by Florida Statute §559.55(6).

         15.     Defendant is a “creditor” as defined in Florida Statute §559.55(5)

         16.     Defendant called Plaintiff on Plaintiff’s cellular telephone approximately

 one hundred (100) times in an attempt to collect a debt.




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        17.     Defendant attempted to collect an alleged debt from Plaintiff by this

 campaign of telephone calls.

        18.     Some or all of the calls the Defendant made to Plaintiff’s cellular

 telephone number were made using an “automatic telephone dialing system” which has

 the capacity to store or produce telephone numbers to be called, using a random or

 sequential number generator (including but not limited to a predictive dialer) or an

 artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §

 227(a)(1) (hereinafter “autodialer calls”). Plaintiff will testify that he knew it was an

 autodialer because of the vast number of calls he received and because he heard a pause

 when he answered his phone before a voice came on the line and he received prerecorded

 messages from Defendant.

        19.     Plaintiff believes the calls were made using equipment which has the

 capacity to store numbers to be called and to dial such numbers automatically.

        20.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

 number (610) ***-8168, and was the called party and recipient of Defendant’s calls.

        21.     Defendant placed an exorbitant number of automated calls to Plaintiff’s

 cellular telephone (610) ***-8168 in an attempt to collect on a consumer loan.

        22.     Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified

 the calls were being initiated from Defendant’s phone number: (480) 481-1845.

        23.     On several occasions over the last four (4) years Plaintiff instructed

 Defendant’s agent(s) to stop calling his cellular telephone.




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            24.   On or about March 2019, Plaintiff communicated with Defendant from his

 aforementioned cellular telephone number and instructed Defendant’s agent to cease

 calling.

            25.   Each subsequent call Defendant made to Plaintiff’s afore mentioned

 cellular telephone number was knowing and willful and done so without the “express

 consent” of Plaintiff.

            26.   Despite clearly and unequivocally revoking any consent Defendant may

 have believed they had to call Plaintiff on his cellular telephone, Defendant continue to

 place automated calls to Plaintiff.

            27.   Defendant intentionally harassed and abused Plaintiff on numerous

 occasions by calling several times during one day, and on back to back days, with such

 frequency as can reasonably be expected to harass.

            28.   Defendant has a corporate policy to use an automatic telephone dialing

 system or a pre-recorded or artificial voice to individuals just as it did to Plaintiff’s

 cellular telephone in this case.

            29.   Defendant has a corporate policy to use an automatic telephone dialing

 system or a pre-recorded or artificial voice just as it did to Plaintiff’s cellular telephone in

 this case, with no way for the consumer, Plaintiff, or Defendant, to remove the number.

            30.   Defendant’s corporate policy is structured so as to continue to call

 individuals like Plaintiff, despite these individuals explaining to Defendant they wish for

 the calls to stop.




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         31.    Defendant has numerous other federal lawsuits pending against it alleging

 similar violations as stated in this Complaint.

         32.    Defendant has numerous complaints across the country against it asserting

 that its automatic telephone dialing system continues to call despite requested to stop.

         33.    Defendant has had numerous complaints from consumers across the

 country against it asking to not be called; however, Defendant continues to call the

 consumers.

         34.    Defendant’s corporate policy provided no means for Plaintiff to have his

 number removed from Defendant’s call list.

         35.    Defendant has a corporate policy to harass and abuse individuals despite

 actual knowledge the called parties do not wish to be called.

         36.    Not a single call placed by Defendant to Plaintiff were placed for

 “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

         37.    Defendant willfully and/or knowingly violated the TCPA with respect to

 Plaintiff.

         38.    From each and every call placed without consent by Defendant to

 Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion

 upon his right of seclusion.

         39.    From each and every call without express consent placed by Defendant to

 Plaintiff’s cell phone, Plaintiff suffered the injury of occupation of his cellular telephone

 line and cellular phone by unwelcome calls, making the phone unavailable for legitimate

 callers or outgoing calls while the phone was ringing from Defendant’s calls.



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        40.     From each and every call placed without express consent by Defendant to

 Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of his time.

 For calls he answered, the time he spent on the call was unnecessary as he repeatedly

 asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste time to

 unlock the phone and deal with missed call notifications and call logs that reflected the

 unwanted calls. This also impaired the usefulness of these features of Plaintiff’s cellular

 phone, which are designed to inform the user of important missed communications.

        41.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cell phone was an injury in the form of a nuisance and annoyance to Plaintiff.

 For calls that were answered, Plaintiff had to go to the unnecessary trouble of answering

 them. Even for unanswered calls, Plaintiff had to waste time to unlock the phone and deal

 with missed call notifications and call logs that reflected the unwanted calls. This also

 impaired the usefulness of these features of Plaintiff’s cellular phone, which are designed

 to inform the user of important missed communications.

        42.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell

 phone’s battery power.

        43.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cell phone where a voice message was left which occupied space in Plaintiff’s

 phone or network.




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         44.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cell phone resulted in the injury of a trespass to Plaintiff’s chattel, namely his

 cellular phone and his cellular phone services.

         45.     As a result of the calls described above, Plaintiff suffered an invasion of

 privacy. Plaintiff was also affect in a personal and individualized way by stress, anxiety,

 nervousness, embarrassment, distress and aggravation.

                                         COUNT I
                                  (Violation of the TCPA)

         46.     Plaintiff fully incorporates and realleges paragraphs 1 through 45 as if

 fully set forth herein.

         47.     Defendant willfully violated the TCPA with respect to Plaintiff, especially

 for each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff

 notified Defendant that he wished for the calls to stop.

         48.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

 cellular telephone using an automatic telephone dialing system or prerecorded or artificial

 voice without Plaintiff’s prior express consent in violation of federal law, including 47

 U.S.C § 227(b)(1)(A)(iii).

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

 triable and judgment against Defendant for statutory damages, punitive damages, actual

 damages, treble damages, enjoinder from further violations of these parts and any other

 such relief the court may deem just and proper.




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                                         COUNT II
                                 (Violation of the FCCPA)

         49.     Plaintiff fully incorporates and realleges paragraphs 1 through 45 as if

 fully set forth herein

         50.     At all times relevant to this action Defendant is subject to and must abide

 by the laws of the State of Florida, including Florida Statute § 559.72.

         51.     Defendant has violated Florida Statute § 559.72(7) by willfully

 communicating with the debtor or any member of his or her family with such frequency

 as can reasonably be expected to harass the debtor or his or her family.

         52.     Defendant has violated Florida Statute § 559.72(7) by willfully engaging

 in other conduct which can reasonably be expected to abuse or harass the debtor or any

 member of his or her family.

         53.     Defendant’s actions have directly and proximately resulted in Plaintiff’s

 prior and continuous sustaining of damages as described by Florida Statute § 559.77.

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

 triable and judgment against Defendant for statutory damages, punitive damages, actual

 damages, costs, interest, attorney fees, enjoinder from further violations of these parts and

 any other such relief the court may deem just and proper.

                                               Respectfully submitted,

                                               /s/ John Distasio
                                                John Distasio, Esq.
                                                Morgan & Morgan, Tampa, P.A.
                                                One Tampa City Center
                                                201 N. Franklin Street, 7th Floor
                                                Tampa, FL 33602
                                                Tele: (813) 223-5505


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                                          Fax: (813) 223-5402
                                          Florida Bar #: 096328
                                          Attorney for Plaintiff




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